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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



STONEX GROUP INC. and STONEX
FINANCIAL INC.,
                      Plaintiffs,                    Case No. ________________

       - against -


HOWARD SHIPMAN,
                             Defendant.



                                        COMPLAINT

       Plaintiffs StoneX Group, Inc. and StoneX Financial, Inc. (“StoneX” or the “Company”),

by their undersigned attorneys, for their Complaint against Howard Shipman (“Shipman”), alleges

as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for theft of StoneX’s trade secrets and other confidential and

proprietary information.

       2.      StoneX Group Inc. is a publicly traded financial services organization, which is

listed on the NASDAQ stock exchange as SNEX.

       3.      StoneX Financial Inc. is StoneX Group Inc.’s broker-dealer entity, registered with

the Financial Industry Regulatory Authority (“FINRA”).

       4.      Shipman was the Co‐Head of Quantitative Strategies within StoneX Financial

Inc.’s Principal Equities Group (the “Quant Group”) until his termination on December 9, 2022.




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         5.    Immediately after StoneX terminated Defendant’s employment, effective

immediately, Defendant extracted of 87 megabytes (“MBs”) of data from StoneX’s server, and he

then tried to hide his tracks by clearing his conduct history in the server.

         6.    In addition, in the period following Shipman’s termination, StoneX’s forensic

analytics team discovered, among other things, that Shipman connected two external hard drives

to his StoneX laptop after his termination to transfer StoneX documents onto the hard drives, and

he deleted his virtual workspace from his StoneX laptop where he performed projects and coding

work for StoneX.

         7.    The immediate purpose of this lawsuit is to secure temporary and preliminary

injunctive relief (i) to prevent further misappropriation and potential use of StoneX’s trade secrets

and confidential information; (ii) to secure StoneX’s trade secrets and other potentially relevant

evidence that Shipman could disseminate to third parties; and (iii) to evaluate the extent of harm

suffered by StoneX thus far, and mitigate and prevent and future harm that Shipman poses through

his continued possession of StoneX’s confidential information.

                                          THE PARTIES

         8.    StoneX Group, Inc. is an international publically traded financial services

organization with its principal place of business at 230 Park Avenue, 10th Floor, New York, NY

10169.

         9.    StoneX Financial, Inc. is a FINRA-registered broker-dealer firm with its principal

place of business at 329 Park Avenue North, Suite 350, Winter Park, Florida 32789.

         10.   Shipman is a Connecticut resident. From February 2021 until December 9, 2022,

he was employed by StoneX as a Managing Director in the Principal Equities Development Group.




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                                JURISDICTION AND VENUE

       11.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because this action seeks

to enforce rights and remedies secured under the Defend Trade Secrets Act (“DTSA”), 18 U.S.C.

§§ 1836, et seq. and under the Computer Fraud Abuse Act (“CFAA”), 18 U.S.C. § 1030(a)(2)(c).

       12.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) over the

New York law claims in this action.

       13.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

events giving rise to the claim occurred in this judicial district. Further, Shipman’s Employment

Agreement (the “Agreement”) with StoneX, dated February 26, 2021, provides the Borough of

Manhattan, New York City, New York as the jurisdiction for actions or proceedings arising out

the Agreement, including the actions present here.

                                              FACTS

                              StoneX’s Business and the Quant Group

       14.      StoneX’s Quant Group was established in 2021 when the Company hired

Defendant and two other developers.

       15.      Defendant was the Co‐Head of Quantitative Strategies along with Evan Pfeuffer, a

group that focuses on analytical research within the Quant Group until his termination on

December 9, 2022.

       16.      Since its inception, the Quant Group has made significant investments in

technology, and data subscriptions, to develop new capabilities for the Company.

       17.      These projects included:

             a. Project “Pascal” – An internally developed National Market System (“NMS”)

                electronic market-making software, designed to provide liquidity in NMS

                securities.

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                      i. Pascal was developed during 2021 and became operational in 2022.

                      ii. As described in greater detail herein,



                                                                                   .

                     iii. StoneX invested in equipment, staff, leased co-location spaces, lines,

                         and market data to support this endeavor. It invested millions of dollars

                         to develop this trading system.

                     iv. Pascal became operational in 2022 and generated substantial revenue in

                         2022.

            b. Project “Darwin” – A separately developed




                      i. Darwin was proposed and approved in early 2022. While Shipman was

                         the lead developer for the program, its foundational operations relied



                                              .

                      ii. While still in the development stage, StoneX has already committed

                         several million dollars towards the necessary hardware, data centers,

                         and information necessary for Darwin’s future operation.

                                 Howard Shipman Joins StoneX

      18.      Defendant Howard Shipman joined StoneX on February 8, 2021 as a Managing

Director. He worked remotely from his home in Connecticut during the entirety of his

employment.



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       19.      Shipman is a registered person with FINRA.

       20.      The Company provided Shipman with a company-owned laptop to perform his

work for StoneX.

       21.      Shipman signed an Employment Agreement with StoneX on February 26, 2021. A

true and correct copy of Shipman’s Employment Agreement is attached to the Johnson Declaration

as Exhibit 1.

       22.      Shipman’s Employment Agreement included the following contractual agreements

and obligations:

       Employee shall at all times perform Employee's duties faithfully and diligently and
       in compliance with all applicable laws, regulations, Employer written policies, and
       manuals provided to Employee, and any direction from Employer or from
       Employer’s governing Board. . . . Employee also shall comply with all Employer
       and the Company's policies respecting ethics, trading in StoneX Group Inc. stock,
       and all applicable rules and regulations of the Securities and Exchange
       Commission. Employee shall become familiar with and shall abide by the terms of
       Employer's Policies, Procedures, and or Compliance Manual . . . .

(Johnson Decl. Exh. 1 at ¶ 4).

       In the event Employee’s employment with the Company terminates for any reason,
       Employee agrees to deliver immediately to the Company all copies of materials of
       any nature containing any Confidential Information or otherwise regarding the
       Company or any customer of the Company, and Employee agrees not to take with
       him/her any such materials or reproductions thereof.

(Johnson Decl. Exh. 1 at ¶ 7.3(ii)).

       Employee acknowledges that the services to be rendered by Employee are unique
       and personal. Accordingly, Employee may not assign any of Employee’s rights or
       delegate any of Employee’s duties or obligations under this Agreement. The
       rights and obligations of Employer under this Agreement shall inure to the benefit
       of and shall be binding upon the successors and assigns of Employer.

(Johnson Decl. Exh. 1 at ¶ 13).




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       23.     On February 8, 2021, his first day of employment with StoneX, Shipman

acknowledged and agreed to comply with the StoneX U.S. Employee Handbook dated January

2020. (Johnson Decl., Exh. 2).

       24.     The StoneX U.S. Employee Handbook includes a “Confidential Company

Information” provision, which states:

       The Company’s confidential and proprietary information is vital to its current
       operations and future success. Each employee should use all reasonable care to
       protect or otherwise prevent the unauthorized disclosure of such information.

       In no event should employees disclose or reveal confidential information within or
       outside the Company without proper authorization or purpose. Inappropriate
       disclosure of confidential information may result in disciplinary action up to and
       including termination.
       “Confidential Information” refers to a piece of information, or a compilation of
       information, in any form (on paper, in an electronic file, or otherwise), related to
       the Company’s business that the Company has not made public or authorized to be
       made public, and that is not generally known to the public through proper means.

       By way of example, confidential or proprietary information includes, but is not
       limited to, nonpublic information regarding the Company’s business methods and
       plans, databases, systems, technology, intellectual property, know-how, marketing
       plans, business development, products, services, research, development,
       inventions, financial statements, financial projections, financing methods, pricing
       strategies, customer sources, employee health/medical records, system designs,
       customer lists and methods of competing.
       ...

       The Company’s customers and suppliers entrust the Company with important
       information relating to their businesses. The nature of this relationship requires
       maintenance of confidentiality. In safeguarding the information received, the
       Company earns the respect and further trust of its customers and suppliers.

(Johnson Decl., Exh. 2 at pp. 28-29).

       25.     During his employment, Shipman initially reported to Thomas Moore, the

Managing Director and Head of Equity Trading. In or around October 2022 until his termination,

Shipman reported to Christopher Amato in his position as Managing Director, Principal Equities

Development.


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                   StoneX’s Computer Network Architecture and Systems

       26.     To build and maintain its programs for StoneX, the Quant Group utilizes a number

of physical and cloud-based technology resources to perform its work for StoneX. Among these

resources are computers, physical servers, and cloud based servers.

       27.     The Company provided Defendant with a company-owned laptop to perform his

work for StoneX.

       28.     Shipman also used Microsoft Azure cloud servers to conduct his work on behalf of

StoneX. A “cloud” based server, such as Azure, does not physically sit in StoneX’s facilities.

Rather, it is housed and maintained by a third-party provider, which, in the case of Azure, is

Microsoft. In turn, Microsoft bills StoneX for its use of the Azure cloud servers.

       29.     Authorized StoneX users are able to access the Azure servers from any location,

provided they are logged in to StoneX’s secure environment.

       30.     The Quant Group utilized certain Azure servers that were dedicated to their projects

(collectively the “Pascal Azure servers”). There were various servers, one of which was named

Corvo-004.

       31.     Shipman had “administrator” privileges on the Pascal Azure servers, including

Corvo-004. This meant that he was the highest-ranking user of the server, and could create, delete,

and change the access, controls and privileges of the server and the account. The only action he

could not undertake was to grant “administrator” privileges to someone else on the Azure API

subscription. These high-level privileges were (a) requested by Shipman, and (b) as represented

by Shipman to StoneX, necessary for him to perform his work for StoneX.

       32.     To access the Pascal Azure servers, Shipman used the local username “pianoman.”

Due to his administrator level of access, he also was able to access a permissions escalated user



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account on said Azure servers, named “root”. Once logged in as pianoman, Shipman could switch

between the two accounts (pianoman and root) at his own discretion.

       33.       In the time since Defendant’s termination, Stonex has uncovered evidence that

strongly suggests that Defendant used non-StoneX owned or approved computers, servers, and

personal devices, such as his personal computer, a personally licensed Linode cloud server, and

other non-StoneX devices to perform his computer-code development work for StoneX.

       34.       Further, StoneX has also learned that Shipman accessed the Quant Group’s Pascal

Azure servers and issued commands via secure shell (“SSH”) tunnels, which is a method of directly

connecting to servers via an encrypted connection with a local account. In this way, Shipman

maintained a connection to StoneX’s systems for a small window of time (roughly one hour) after

he was terminated by StoneX. He leveraged this brief access to issue commands in the Pascal

Azure servers post termination. Shipman remained connected to StoneX’s Pascal Azure server

under the pianoman user account, which showed significant egress traffic post termination.

                   StoneX Data Protection and Information Security Efforts

       35.       Because of the highly confidential and valuable nature of StoneX’s business

information, and in accordance with the compliance obligations imposed on StoneX by financial

regulators in multiple jurisdictions across the globe, the Company utilizes many different layers

and forms of information security.

       36.       Upon starting any company-owned StoneX laptop, the laptop prompts the user with

the following:

       Attention – Please Read! This computer is for StoneX business use. In line with

       information security, policy, all system use, including e-mail, Internet, and intranet

       use may be monitored to guard against unauthorized or inappropriate use. Use of



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        this system constitutes, consent to monitoring, in accordance with local laws.

        Unauthorized use may result in reprimand, financial penalties, and/or legal action.

The user must then accept this statement by clicking “ok” before logging in.

        37.    StoneX employees are required to follow StoneX’s Acceptable Use Policy (“AUP”)

and Acceptable Use of IT Facilities Policy (“AUFP”). These policies are readily available to all

StoneX employees on the corporate intranet. (See Wareman Decl., Exh.s 1 and 2).

        38.    The AUP details StoneX’s expectations regarding employee protection of StoneX’s

data, information, systems, networks and computers. It includes requirements to ensure

information security, such as: (a) prohibiting unauthorized access to accounts (including stealing

or misusing a password), programs and/or data, (b) requiring that StoneX’s proprietary information

stored on electronic and computing devices whether owned or leased by StoneX, the employee or

a third party, remains the sole property of StoneX, (c) requiring that data owned, processed or held

by the Company, must be protected in accordance with data protection standards, and (d)

disclosing that the Company may log all forms of employee IT use and communications, and that

the Company reserves the right to monitor computer equipment, systems and network traffic.

        39.    Section 1.0 of the AUP provides that computer equipment, software, operating

systems, storage media, network accounts providing electronic mail, internet browsing, and FTP

remain the property of StoneX.

        40.    Section 3.5 of the AUP maintains that accessing data, a server or an account for any

purposes other than conducting StoneX business is prohibited.

        41.    Section 3.8 of the AUFP provides StoneX’s Exit Procedures, which states:

        Upon leaving the Company it is expected that users:

       Promptly return all Company IT equipment in reasonable working condition.
       Do not delete any data which belongs to the Company.


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         Transfer any data which may be needed by the Company to an appropriate server or
          colleague prior to departure.
         Ensure any of their own data that they wish to keep is removed from the Company's
          systems, as they will not be entitled to access this once they leave.
         Review and conform to any other procedures set out by the Company in relation to
          departure.

          42.    In addition to Company policies, StoneX Group Inc. employs approximately 80

individuals globally to ensure the Company’s cyber security. These employees operate via various

teams, including Identity & Access Management, Cybersecurity/Security Operations, IT

Governance, Risk & Compliance, Third Party Vendor Risk and Business Resiliency. All teams

report to the Chief Information Officer.

          43.    StoneX also employs a stand-alone internal audit team, which exists outside of

StoneX’s cyber security group and reports directly to StoneX’s executive committee. Among other

things, this team conducts independent audits of StoneX’s cyber security systems.

          44.    Further, StoneX performs regular third-party penetration testing to ensure the

security of its network.

          45.    StoneX ensures employee desktops, laptops, mobile devices, servers, and databases

are initially configured to meet the Company’s cyber security requirements.

          46.    To log on to StoneX’s network, employees can utilize a virtual private network

(“VPN”), which is an online portal used to access StoneX’s network, or connect directly from one

of StoneX’s physical offices using an authorized device. VPN login requires a username,

password, multi-factor verification and an authorized StoneX device. Access to StoneX’s network

from within a StoneX office requires the use of a username, password and authorized StoneX

device.

          47.    StoneX also uses best-in-class endpoint detection and response (“EDR”) tools to

detect and investigate threats to its network. It also utilizes malware and virus detection/prevention

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tools, and works with third-party providers, such as Microsoft and Crowdstrike, to further monitor

and protect its network.

        48.    Across its entire network, StoneX utilizes the ‘least privilege’ principle, which

means that StoneX employees only have access to the data or information that they need to perform

their job.

        49.    StoneX’s confidential information is heavily guarded. In addition to all of the other

security measures in place throughout StoneX’s network, the Company utilizes additional

monitoring, vulnerability management and remediation programs to ensure the protection of this

information.

        50.    Upon information and belief, Shipman was fully aware of StoneX’s cyber security

policies and procedures.

        51.    Between September 2021 and March 2022 StoneX’s Cyber Security Architect

Frank McGovern and Michael Glatz, Manager of Security Engineering, spent hours speaking

directly with Shipman about the various rules and regulations of cyber security compliance that

were applicable to him and his team, including sharing copies of policies applicable to the

environment.

        52.    In addition, Vito Demonte, Associate Director of IT Governance Risk and

Compliance, also shared ten separate StoneX’s policies about network management, password

management, change management, privileged access management, audit, control, access control

and encryption with Shipman.




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                                      Development of Pascal

       53.     Project “Pascal” is StoneX’s new NMS electronic market making project, and the

computer code for Pascal is a highly valuable piece of proprietary software. It is classified by

StoneX as confidential information.

       54.     The Pascal code comprises three main code libraries, named: “Alabama,” “Texas,”

and “Tampa.” At a high level:




       55.     These components that make up Pascal are stored in a code “repository,” which is

an archive of computer source code, stored on servers (cloud or physical).

       56.     The source code itself is not used to operationally run Pascal, instead a “compiled”

executable version of the source code is created and used in daily operations. For example, when

an individual buys a copy of Microsoft Word and installs it on their system, they have an

operational copy of the program, but they do not have the underlying source code for Microsoft

Word. Microsoft retains the source code so that it retains exclusive control over the program. If

Microsoft provided individual users with the source code, anyone with a copy could replicate and

distribute it without Microsoft’s control.

       57.     Shipman was the developer of Texas.



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       58.    Pascal’s computer code was written on StoneX’s Pascal Azure servers,




                                  Development of Darwin

       59.    Following completion of the operational code for Pascal, StoneX began

development of Darwin in early 2022.

       60.    Darwin was designed to

                                                      . All of the computer code for Darwin was

intended to be – and was in fact – developed by StoneX employees.

       61.



       62.    Darwin was to be developed (i.e., the code should have been written and stored) on

the StoneX Pascal Azure servers in accordance with StoneX’s policies.

       63.    On or about January 27, 2022 Shipman presented project Darwin for approval in a

meeting with Thomas Moore and Jake Rappaport, which Pfeuffer attended.

       64.    Subsequent to this presentation, Shipman’s supervisor, Thomas Moore, approved

project Darwin.

       65.    The first experimental trades using Darwin occurred on or about February 2022.

       66.



       67.    Darwin                       is the analytical “brains” of the code that utilized




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       68.      The development of “Darwin” had advanced significantly enough that on

December 9, 2022, Shipman’s termination date, he provided a virtual presentation of Darwin to

the current Quant Team. In that presentation, Shipman:

             a. Demonstrated Darwin’s operation in a test environment,

             b. Presented portions of Darwin’s source code,

             c. Edited, compiled and re-ran portions of the source code to demonstrate its use and

                specific features including the design, editing and running of a new calculator, and

             d. Stated that he would be sharing the source code with the rest of the team later that

                day or Monday, December 12, 2022.

       69.      Subsequent to Shipman’s termination and after investigation and discussions with

other members of the Quant Team, StoneX has been unable to locate a copy of the Darwin source

code as presented on December 9th on any of the Azure servers or any of StoneX’s systems or

repositories.

       70.      Upon information and belief, Shipman did not share a copy of the Darwin source

code with anyone at StoneX. He promised Pfeuffer on multiple occasions that he would share the

Darwin code with him, but as of his termination he did not.

                       StoneX Terminated Shipman on December 9, 2022

       71.      StoneX terminated Shipman’s employment on December 9, 2022.

       72.      StoneX management directed IT to begin terminating Shipman’s authorized

StoneX’s account at approximately 3:09pm CST on December 9, 2022.

       73.      StoneX’s Front Office Management Team and Anne Johnson (Global HR Business

Partner) contacted Shipman twenty minutes later to advise that he was being terminated effective




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       77.     As discussed further below, Shipman remained logged into the Pascal Azure

servers until 4:45pm CST that evening, a period that included nearly 75 minutes after he was

terminated at 3:30pm CST.

       78.     Shipman – via his “pianoman” username – was the only individual logged into the

Pascal Azure servers between 3:00pm and 4:45pm CST.

                 Shipman Steals StoneX Code and Tries to Cover His Tracks

       79.     After his termination, Shipman maintained his connection via Shipman’s IP

Address. Even though he was by this point an ex-StoneX employee with no authorized access to

StoneX data, he continued not only to access that data, he manipulated and egressed StoneX’s

intellectual property.

       80.     Between 3:30pm and 4:45pm CST, post-termination, Shipman used his access to

StoneX’s systems to execute an unknown number of commands, deletions, and/or other actions,

culminating in his extraction of 87 megabytes (“MBs”) of data from StoneX’s server. 87MBs is

slightly larger than the Pascal repository (roughly 70MBs) that was archived on the Pascal Azure

servers at the time of the data egress.




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          81.   Also between 3:30pm and 4:45pm CST, Shipman deleted the server “bash history”

from November 7, 2022 onwards. The “bash history” is a log of all prior coding commands utilized

on a server that would reveal all of his actions.

          82.   Without the bash histories, StoneX is unable to determine (a) exactly what was

included in the 87MBs that Shipman egressed, and (b) where it was sent. However, StoneX is

working with a forensics firm to investigate this and other questions.

          83.   Immutable independent logs obtained from Microsoft, which Shipman was unable

to delete, confirm that 87 MBs of data was egressed from the Pascal Azure servers during this

period.




          84.   Following the egress of data, Shipman (logged in as “pianoman”) deleted his

account’s server bash history from the Pascal Azure server named Corvo-004 at approximately

4:05pm CST.


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       85.    Shortly after deleting his “pianoman” history, Shipman switched from his

“pianoman” account to the Administrator level “root” account. Only Shipman, with his

Administrator access, could have switched their account username from “pianoman” to “root.”

       86.    Thereafter, Shipman deleted the bash command history associated with the

administrator level “root” account at 4:13pm CST eliminating the record of commands associated

with this account as well as his personal pianoman account.

       87.    The StoneX information security team was alerted to this activity as two security

alerts were raised after Shipman’s termination for history files being cleared by the account

“pianoman” and “root” at 4:05pm CST and 4:13pm CST.




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          88.   After Shipman’s termination, StoneX located a folder in the Pascal Azure servers

named “Darwin,” but it was empty. StoneX has been unable to find a copy of the Darwin source

code anywhere else.

          89.   Additionally, after Shipman’s termination at 3:30pm CST and final logoff of his

login from his Linode server at approximately 4:45pm CST on December 9, 2022, Shipman made

additional unsuccessful attempts to access StoneX’s network that evening and throughout the

weekend.

                             Forensic Work on Shipman’s Laptop

          90.   StoneX’s outside counsel, Proskauer Rose LLP, hired Charles River Associates

(“CRA”) to perform forensic examinations of StoneX’s computer systems, and Shipman’s StoneX

laptop.

          91.   CRA was retained on or about December 27, 2022.

          92.   Due to the delay by Shipman in returning his StoneX laptop, CRA only received

the laptop during the day on January 3, 2022.


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       93.    To date, StoneX has spent more than $5,000.00 in order to (a) respond to Shipman’s

conduct and (b) pay CRA to conduct its damage assessment of the data taken from Shipman’s

computer.

       94.    CRA’s forensic investigation of StoneX computers and systems is ongoing, but to

date, CRA has done the following:

              a. On January 2, 2023, CRA collected from StoneX computer system logs and

                  records associated with Shipman that are more specifically described below.

              b. On January 3, 2023, CRA received Shipman’s StoneX laptop. CRA was

                  informed that the laptop was owned by StoneX, assigned to Shipman, and was

                  shipped to CRA by counsel representing Shipman. The laptop was a Dell

                  Precision 7540 with serial number FCL0833 (“Shipman’s Laptop”).

              c. On January 4, 2023, CRA received a copy of a StoneX virtual computer (server)

                  named Corvo-004. The virtual computer was hosted within a Microsoft Azure

                  cloud environment operated by StoneX.

              d. CRA used forensic software to examine the collected forensic evidence.

                  Forensic software is used to search for and recover files and folders, identify

                  and interpret artifacts that show computer and user activity, and other computer

                  investigative tasks.

       95.    As a result of CRA’s investigation to date, CRA determined the following events

occurred after Shipman was notified that his employment was terminated.

       96.    On December 9, 2022 at 3:03pm CST, StoneX disabled Shipman’s Microsoft

Windows user account due to Shipman’s termination. Shipman was still able to access StoneX’s

Microsoft Azure environment despite his account being disabled because Shipman configured this



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environment to be accessible through network connections and local accounts that were under

Shipman’s control. Furthermore, disabling Shipman’s Microsoft Windows user account did not

prevent Shipman from accessing Shipman’s Laptop, likely because Shipman’s Laptop was not

connected to StoneX’s network. Because of this, Shipman was able to access StoneX’s Microsoft

Azure environment and his laptop after his termination.

       97.    On December 9, 2022 at 4:05pm CST, a Microsoft Azure Defender security alert

reported that the “bash_history” for the “pianoman” account on the Corvo-004 server was deleted.

Additionally, based on a VIM text editor program log file, user folders under the pianoman

account, including Desktop, Downloads, and Documents, were deleted on December 9, 2022

around 4:14pm CST.

       98.    Clearing the bash_history and deleting the Desktop, Downloads, Documents and

other folders destroyed data on the Corvo-004 server. More specifically, clearing bash_history

obfuscated any commands Shipman may have issued on Corvo-004 using the pianoman or root

accounts. If Shipman issued commands to access other cloud computers or StoneX source code,

these commands were destroyed.

       99.    On December 10, 2022 at 10:55:15am CST, a SanDisk drive was connected to

Shipman’s Laptop. Shipman’s Laptop assigned the SanDisk drive a device name of “SanDisk

Cruzer Glide USB Device” and an internal serial number of “20042605701683737105”. The

storage volume on the SanDisk drive was named “UBUNTU-SERV”.

       100.   On December 13, 2022 at 11:47:47pm CST, the SanDisk drive was connected to

Shipman’s Laptop. At 11:49:54pm CST, a “D:\StoneX Docs” folder was created on the SanDisk

drive. Between 11:50:34pm and 11:51:31pm CST, the following folders were created on the

SanDisk drive within the StoneX Docs folder:



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      Timestamp CT            Event                     Path
  12/13/22 11:50:34 PM   Created      D:\StoneX Docs\SIP
  12/13/22 11:50:35 PM   Created      D:\StoneX Docs\Travel
  12/13/22 11:50:35 PM   Created      D:\StoneX Docs\Texas
  12/13/22 11:50:45 PM   Created      D:\StoneX Docs\Baml
  12/13/22 11:50:46 PM   Created      D:\StoneX Docs\Budget
  12/13/22 11:50:47 PM   Created      D:\StoneX Docs\Darwin
  12/13/22 11:50:47 PM   Created      D:\StoneX Docs\Custom Office Templates
  12/13/22 11:50:47 PM   Created      D:\StoneX Docs\Candidates
  12/13/22 11:51:01 PM   Created      D:\StoneX Docs\HPC
  12/13/22 11:51:01 PM   Created      D:\StoneX Docs\Data
  12/13/22 11:51:02 PM   Created      D:\StoneX Docs\OnixS
  12/13/22 11:51:02 PM   Created      D:\StoneX Docs\OneNote Notebooks
  12/13/22 11:51:30 PM   Created      D:\StoneX Docs\Research
  12/13/22 11:51:30 PM   Created      D:\StoneX Docs\Personal
  12/13/22 11:51:30 PM   Created      D:\StoneX Docs\Outlook Files
  12/13/22 11:51:31 PM   Created      D:\StoneX Docs\Security Standards


         101.      On          December             14,          2022           at     12:00:35am     CST,      a

“C:\Users\howard.shipman\.VirtualBox” folder and any files it contained was deleted from

Shipman’s Laptop.




         102.      VirtualBox is a software program that creates and runs virtual versions of

computers. Any virtual computers and information about those virtual computers are typically

stored within the VirtualBox folder that was deleted.

         103.      On December 14, 2022 at 12:01:48am CST, the SanDisk drive was disconnected

from Shipman’s Laptop. The SanDisk drive was connected at the time that the VirtualBox folder

was deleted and then disconnected one minute and thirteen seconds later.

         104.      On December 14, 2022 at 9:08:27pm CST, the SanDisk drive was again connected

to Shipman’s Laptop and was disconnected about 5 seconds after it was connected.

         105.      On December 23, 2022 at 2:39pm CST, all Google Chrome web history was cleared

from Shipman’s Laptop. Clearing the web history removes the history of web sites that were

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visited, saved passwords, and other web browser data and settings. CRA was unable to recover

any Google Chrome external web browsing history data from Shipman’s Laptop because it was

cleared.

       106.    On December 26, 2022 at 3:45:53pm CST, a Sony drive was connected to

Shipman’s Laptop. The Sony drive had previously been connected to Shipman’s Laptop on

December 5, 2022 at 1:26:24pm CST. Shipman’s Laptop assigned the Sony drive a device name

of “Sony Storage Media USB Device” and an internal serial number of “7&388e6bd2.”

       107.    Sixty-three seconds after the Sony drive was connected to Shipman’s Laptop, two

files were accessed. The files “C:\Users\howard.shipman\Documents\Darwin\QuantStrat Plan

2023.docx” and “C:\Users\howard.shipman\Documents\mm_shares.xlsx” were accessed at

exactly the same time on December 26, 2022 at 3:46:56pm CST. No other files were accessed

during this timeframe. These artifacts are likely consistent with the two files being copied to the

Sony drive. The Sony drive was then removed from Shipman’s Laptop on December 26, 2022 at

4:06:15 pm CT.

       108.    These documents are highly sensitive and confidential to StoneX.

       109.    The “QuantStrat Plan 2023” document is marked “Strictly Confidential and Private,

Property of StoneX,” and includes detailed information about StoneX’s strategy, monetization

strategy and market predictions, for the Quant Group.

       110.    The “mm_shares” document is a Miscrosft Excel file that includes sensitive and

confidential financial projects for StoneX’s market-making activities. This information is unique

to StoneX and its target goals.

       111.    CRA also conducted research about Shipman’s Linode account. Linode is a cloud

computer company that provides Linux virtual machines to its customers. A customer can sign up



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for a Linode account at Linode.com and then create and configure computers that will be hosted

by Linode.

        112.    Between August 16, 2022 and December 9, 2022, over two-hundred secure shell

protocol (“SSH”) connections were made to the Corvo-004 server with the username pianoman

from IP address                        SSH is a protocol used to connect computers over a network.

According to its American Registry for Internet Numbers (ARIN) record, the computer with the

                 IP address was registered to Akamai Technologies, Inc. and is associated with

Linode (the “Linode Cloud Computer”).

        113.    Multiple Linux artifacts and log files from the Corvo-004 server that collectively

indicate StoneX data existed on the Linode Cloud Computer.

        114.    Specifically, the Corvo-004 server and the Linode Cloud Computer were connected

through SSH and a data volume on the Linode Cloud Computer was mounted to the Corvo-004

server. Other artifacts showed that within this mounted data volume were multiple files and based

on file name these files appear to be StoneX source code files:
                                       .viminfo Files
 /mnt/data1/projects/test/share/research/darwin/src/fitzroy/loaders/FitzRoyLoader.hpp
 /mnt/data1/projects/test/share/research/darwin/makefile
 /mnt/data1/projects/test/share/research/darwin/src/makefile
 /mnt/data1/projects/test/share/research/darwin/src/forge/ForgeMode.cpp
 /mnt/data1/projects/darwin/bin/RunSim.sh
 /mnt/data1/projects/darwin/etc/syms.256.list
 /mnt/data1/projects/darwin/bin/RunTest.sh
 /mnt/data1/projects/darwin/bin/RunFit.sh
 /mnt/data1/projects/darwin/bin/RunSample.sh
 /mnt/data1/projects/darwin/DelMe.cpp
 /mnt/data1/projects/durango/scripts/install node/InstallNodePackages.sh
 /mnt/data1/projects/darwin/etc/samples.list


        115.    Based on the information uncovered by StoneX and CRA, it is evident that Shipman

has taken valuable computer code and other materials relating to Pascal and Darwin. StoneX has

uncovered no information, however, which indicates that Shipman has taken information relating

to its customers or counterparties.


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Further Evidence of Shipman’s Malicious Intent and Deception

       116.    Following Shipman’s termination, on December 10, 2022, Pfeuffer contacted

Shipman to say ‘goodbye’.

       117.    During that phone call, Shipman stated that StoneX should expect a “shit show” on

Monday morning. When Pfeuffer asked Shipman what he meant, or if Shipman would help or

StoneX avoid the impending “shit show,” Shipman stated that he would do nothing to assist

StoneX or Pfeuffer.

       118.    StoneX shortly thereafter discovered that Shipman had sabotaged Pascal so that it

would not run correctly in his absence. Fortunately, StoneX was able to resolve the issue without

any disruption to the running of Pascal.

                                             COUNT I

                  VIOLATION OF THE DEFEND TRADE SECRETS ACT

       119.    StoneX repeats, re-alleges, and incorporates by reference paragraphs 1 through 118

above as set forth fully herein.

       120.    As set forth above, StoneX owns various trade secrets within the meaning of the

DTSA, 18 U.S.C. § 1839(3), which are critical to the success of its business, including, without

limitation, the information described in paragraphs 1-17; 35-70 above.

       121.    StoneX’s trade secrets relate to StoneX’s services used in interstate and foreign

commerce.

       122.    StoneX’s trade secrets derive independent economic value from not being generally

known to, and not being readily ascertainable through proper means by, another person who can

obtain economic value from the disclosure or use of the information. StoneX’s trade secrets give

it a competitive advantage over other law companies who do not have access to that trade secret

information. StoneX’s trade secrets are valuable and crucial to its business functions and

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competitive position as a company. The trade secrets Shipman has misappropriated are of

enormous potential value to a competing company.

       123.    Shipman’s actions as described herein constitute a misappropriation within the

meaning of the DTSA, 18 U.S.C. § 1839(5).

       124.    Shipman misappropriated StoneX’s trade secrets by acquiring them while knowing

he had acquired them by improper means, including theft, misrepresentation, and breaches and

inducement of breaches of duties to maintain the secrecy of StoneX’s trade secret information.

       125.    StoneX is entitled to damages for actual losses caused by Shipman’s

misappropriation of its trade secrets, and damages for any unjust enrichment caused by Shipman’s

misappropriation that is not addressed in computing its actual losses. In the alternative, StoneX is

entitled to a reasonable royalty for Shipman’s misappropriation of its trade secrets.

       126.    Shipman’s misappropriation of StoneX’s trade secrets was willful and malicious,

entitling StoneX to attorney’s fees and exemplary damages.

       127.    Temporary, preliminary and permanent injunctive relief is necessary to prevent

irreparable harm and further disclosure or use of StoneX’s trade secrets.

                                              COUNT II

               VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT

       128.    StoneX repeats, re-alleges, and incorporates by reference paragraphs 1 through 127

above as set forth fully herein.

       129.    As set forth above, Shipman has violated the Computer Fraud and Abuse Act

(“CFAA”), 18 U.S.C. § 1030(a)(2)(C), by intentionally accessing at least one StoneX computer

used in or affecting interstate commerce or communications, without authorization or by exceeding




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authorized access to such computer(s), and by obtaining information from the Company’s

protected computer(s).

        130.    The computer files Shipman accessed without authorization were maintained on

StoneX’s computers and computer system, which are “protected computers” within the meaning

of 18 U.S.C. § 1030(e)(2), in that they were used by StoneX to engage in interstate and foreign

commerce and communications and to otherwise conduct StoneX’s business across state lines, via

the Internet.

        131.    Upon the termination of his employment, Shipman was not authorized to access the

computer files described above, and his accessing and transmission of those files was without

authorization and contrary to the interests and policies of StoneX.

        132.    Shipman has not returned any files or documents to StoneX.

        133.    By engaging in the conduct described above:

                a. Shipman intentionally accessed at least one computer without authorization or

                   exceeded his authorized access, and thereby obtained information from a

                   protected computer, in violation of the CFAA, 18 U.S.C. § 1030(a)(2)(C);

                b. Shipman knowingly and with the intent to defraud, and in violation of his

                   fiduciary duty to StoneX, accessed at least one StoneX protected computer

                   without authorization. By means of such conduct, he furthered his intended

                   fraud, including without limitation accessing, obtaining, transmitting, and

                   removing, without authorization, electronic files and information belonging to

                   StoneX, including but not limited, files containing its valuable business

                   information, including confidential, proprietary, and trade secret information,

                   by dishonest methods in violation of the CFAA, 18 U.S.C. § 1030(a)(4);



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                c. Shipman knowingly caused and commanded the transmission of computer files

                    and information and as a result of such conduct, intentionally and without

                    authorization caused damage in violation of the CFAA, 18 U.S.C. §

                    1030(a)(5)(A); and

                d. Shipman intentionally accessed a protected computer without authorization,

                    and as a result of such conduct, recklessly and/or intentionally cause damage

                    and loss, in violation of the CFAA, 18 U.S.C. § 1030(a)(5)(B) and (C).

        134.    As a result of Shipman’s misconduct and violations of the CFAA, StoneX suffered

“damage” and/or “loss” as those terms are interpreted under the CFAA, in an amount exceeding

$5,000, and is entitled to an award of damages under 18 U.S.C. § 1030(g) for Shipman’s multiple

breaches of the CFAA. The damage and loss suffered by StoneX includes the cost of reasonably

investigation and otherwise responding to Shipman’s violations (including the hiring of a forensic

computer analyst to conduct such investigation and analysis) as well as impairment of the integrity

of StoneX’s computers and system, and of the data stored in that system.

        135.    Wherefore, StoneX respectfully requests temporary, preliminary and permanent

injunctive relief, and such other relief as this Court may deem just and proper.

                                           COUNT III

 MISAPPROPRIATION OF TRADE SECRETS UNDER NEW YORK COMMON LAW

        136.    StoneX repeats, re-alleges, and incorporates by reference paragraphs 1 through 135

above as if set forth fully herein.

        137.    As set forth above, StoneX owns various trade secrets critical to the success of its

business, including, without limitation, the information described in paragraphs 1-17, 35-70 above,

which constitute “trade secrets” under New York law.



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        138.    StoneX’s trade secrets derive independent economic value from not being generally

known to, and not being readily ascertainable through proper means by, another person who can

obtain economic value from the disclosure or use of the information. StoneX’s trade secrets give

it a competitive advantage over other companies who do not have access to that trade secret

information. StoneX’s trade secrets are valuable and crucial to its business functions and

competitive position as a company. The trade secrets Shipman has misappropriated are of

enormous potential value to a competing company.

        139.    Shipman’s actions have caused and will continue to cause damage to StoneX and,

unless restrained, will further damage StoneX, the nature and extent of which may not be able to

be proven with certainty, irreparably injuring StoneX, leaving it without an adequate remedy at

law. StoneX is therefore entitled to temporary, preliminary and permanent injunctive relief to

prevent such irreparable harm.

        140.    StoneX is entitled to damages as a result of Shipman’s misappropriation to the

extent its actual losses are calculable.

                                            COUNT IV

                                BREACH OF FIDUCIARY DUTY

        141.    StoneX repeats, re-alleges, and incorporates by reference paragraphs 1 through 140

above as if set forth fully herein.

        142.    As a StoneX employee, Shipman owed StoneX an undivided duty of loyalty and

was obligated to act with the utmost good faith and candor and in the best interests of StoneX.

        143.    StoneX relied on Shipman’s duties of loyalty, integrity, and faithful performance

of his duties and responsibilities.




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         144.   Shipman knowingly and willingly breached those fiduciary duties by

misappropriating StoneX’s trade secrets for his own personal gain through improper means.

         145.   As a direct and proximate result of Shipman’s disloyalty and breach of his fiduciary

duties, StoneX has been and is being harmed. Shipman is still in possession of StoneX’s most

valuable confidential business information and trade secrets and is able to access and use this

information for his own personal gain and for the benefit of StoneX’s competitors. On information

and belief, Shipman has shared, or is planning to share, this confidential information with others

who may use, or are using, the information to StoneX’s detriment.

         146.   Shipman’s actions have caused and will continue to cause damage to StoneX and,

unless restrained, will further damage StoneX, the nature and extent of which may not be able to

be proven with certainty, irreparably injuring StoneX, leaving it without an adequate remedy at

law.

         147.   Temporary, preliminary and permanent injunctive relief is necessary to prevent

irreparable harm and further disclosure or use of StoneX’s most valuable confidential business

information and trade secrets.

                                            COUNT V

                                         CONVERSION

         148.   StoneX repeats, re-alleges, and incorporates by reference paragraphs 1 through 147

above as if set forth fully herein.

         149.   StoneX had legal ownership and a superior right of possession to each of the files

on the Pascal Azure servers.

         150.   Shipman exercised unauthorized dominion over those files that rightfully belonged

to StoneX.



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        151.    Shipman’s unlawful possession of StoneX’s most valuable confidential business

information and trade secrets was to the exclusion of StoneX’s rights and inconsistent with

StoneX’s private possession.

        152.    As a direct and proximate result of Shipman’s unauthorized actions, StoneX has

been and is being harmed. Shipman is still in possession of StoneX’s most valuable confidential

business information and trade secrets and is able to access and use this information for his own

personal gain and for the benefit of StoneX’s competitors. On information and belief, Shipman has

shared, or plans to share, this confidential information with others who may use, or are using, the

information to StoneX’s detriment.

        153.    StoneX is entitled to damages as a result of Shipman’s misappropriation to the

extent its actual losses are calculable.

                                      PRAYER FOR RELIEF

        StoneX reserves the right to pursue any and all available remedies against Shipman,

including damages, punitive damages, exemplary damages, statutory damages, attorneys’ fees,

and any equitable remedies including an order of seizure, a temporary restraining order, a

preliminary injunction, a permanent injunction, and other available remedies necessary to

prevent propagation or dissemination of StoneX’s trade secrets.

WHEREFORE, StoneX respectfully requests that the Court:

        I.      Grant a temporary restraining order (i) ordering Shipman, and anyone acting in

concert or participation with Shipman, to refrain from engaging in further acts of misappropriation

of any of StoneX’s proprietary, confidential and/or trade secret information obtained from

StoneX’s computer systems and servers; (ii) temporarily restraining Shipman, and anyone acting

in concert or participation with Shipman, to refrain from using, copying, reviewing or disclosing



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any of StoneX’s proprietary, confidential and/or trade secret information obtained from StoneX’s

computer systems and servers, by no later than ________, 2023 ____ at ___ am/pm, any and all

of StoneX’s proprietary, confidential and/or trade secret information (including copies thereof)

that Shipman and/or subordinates at his direction copied, printed or otherwise obtained from

StoneX’s computer systems, including all copies of StoneX’s electronic files and all paper copies

in his possession; (iii) temporarily restraining Shipman, and anyone acting in concert or

participation with Shipman, to account for any and all of StoneX’s proprietary, confidential and/or

trade secret information currently in his custody or control, or in the alternative, produce for

immediate inspection and imaging all computers, servers, and/or other electronic devices

belonging to, under the control of, accessible to, or operated by him, including his home

computer(s), cloud or physical servers, and/or other electronic devices capable of transmitting

and/or storing information (including any non-StoneX device or location (physical or cloud) that

Shipman owns, controls, has access to, or transferred/held during the past nine (9) months); (iv)

requiring Shipman, and anyone acting in concert or participation with Shipman, to permit the

permanent removal, deletion, and destruction of all copies of StoneX’s electronic files or

information transmitted to Shipman’s computers or personal email accounts or otherwise in his

possession, subject to the supervision of StoneX, so as to preserve evidence of all such files or

information, and (v) grant permission to StoneX to conduct expedited third-party discovery related

to information about and concerning Shipman’s non-StoneX Linode cloud server and internet

service provider records.

       II.     Grant a preliminary injunction (i) ordering Shipman, and anyone acting in concert

or participation with Shipman, to refrain from engaging in further acts of misappropriation of any

of StoneX’s proprietary, confidential and/or trade secret information obtained from StoneX’s



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computer systems and servers; (ii) ordering Shipman, and anyone acting in concert or participation

with Shipman, to refrain from using, copying, reviewing or disclosing any of StoneX’s proprietary,

confidential and/or trade secret information obtained from StoneX’s computer systems and

servers, any and all of StoneX’s proprietary, confidential and/or trade secret information (including

copies thereof) that Shipman and/or subordinates at his direction copied, printed or otherwise

obtained from StoneX’s computer systems, including all copies of StoneX’s electronic files and

all paper copies in his possession; (iii) ordering Shipman, and anyone acting in concert or

participation with Shipman, to account for any and all of StoneX’s proprietary, confidential and/or

trade secret information currently in his custody or control, or in the alternative, produce for

immediate inspection and imaging all computers, servers, and/or other electronic devices

belonging to, under the control of, accessible to, or operated by him, including his home

computer(s), cloud or physical servers, and/or other electronic devices capable of transmitting

and/or storing information (including any non-StoneX device or location (physical or cloud) that

Shipman owns, controls, has access to, or transferred/held during the past nine (9) months); (iv)

ordering that Shipman, and anyone acting in concert or participation with Shipman, is temporarily

restrained from working or consulting for any person or business (a) to whom he has disclosed or

discussed any of the materials he copied from StoneX’s computer systems, or (b) with whom, on

or after September 10, 2022 through the date of this order, he discussed any employment or

consulting arrangement.

       III.    Enter a judgment that Shipman has:

                a. Violated the DTSA;

                b. Violated the CFAA;

                c. Misappropriated StoneX’s trade secrets;



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